                 IN THE UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF NORTH CAROLINA


 MAXWELL KADEL; JASON FLECK;
 CONNOR THONEN-FLECK, by his next
 friends and parents, JASON FLECK and                Case No. 1:19-cv-00272-LCB-LPA
 ALEXIS THONEN; JULIA MCKEOWN;
 MICHAEL D. BUNTING, JR.; C.B., by his
 next friends and parents, MICHAEL D.
 BUNTING, JR. and SHELLEY K. BUNTING;
 and SAM SILVAINE,

                             Plaintiffs,             JOINT REPORT PURSUANT TO
                                                     FEDERAL RULE OF CIVIL
                        v.                           PROCEDURE 26(f)

 DALE FOLWELL, in his official capacity as
 State Treasurer of North Carolina; DEE
 JONES, in her official capacity as Executive
 Administrator of the North Carolina State
 Health Plan for Teachers and State Employees;
 UNIVERSITY OF NORTH CAROLINA AT
 CHAPEL HILL; NORTH CAROLINA
 STATE UNIVERSITY; UNIVERSITY OF
 NORTH CAROLINA AT GREENSBORO;
 and NORTH CAROLINA STATE HEALTH
 PLAN FOR TEACHERS AND STATE
 EMPLOYEES,

                             Defendants.




       The Parties, through the undersigned counsel, pursuant to Fed. R. Civ. P. 16(b) and

26(b), and M.D.N.C. Local Rule 16.1(b), respectfully submit this Joint Report to the Court.

       1.     Pursuant to Fed. R. Civ. P. 26(f) and LR16.1(b) a meeting was held on July

9, 2020 by telephone and was attended by Amy Richardson and Deepika Ravi of Harris,




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Wiltshire and Grannis LLP, Tara Borelli of Lambda Legal Defense and Education Fund,

Inc., and David Brown and Alejandra Caraballo of Transgender Legal Defense and

Education Fund, Inc. for Plaintiffs; Nora Sullivan and Zach Padget of the North Carolina

Department of Justice for Defendants University of North Carolina at Chapel Hill, North

Carolina State University, and The University of North Carolina at Greensboro

(collectively, the “University Defendants”); John Knepper, Kevin Williams and Mark

Jones of the Law Office of John G. Knepper, LLC for Defendants Dale Folwell, Dee Jones,

and North Carolina State Health Plan for Teachers and State Employees (collectively, the

“State Health Plan Defendants”); and James Benjamin Garner of the North Carolina

Department of the State Treasurer for Defendant Dale Folwell.

      2.     Discovery Plan.

             a.       Without conceding the relevance of any particular discovery topic or

      waiving any objections thereto, the Parties agree that discovery will be needed on

      the following subjects:

                    i.   The North Carolina State Health Plan for Teachers and State

                         Employees (the “SHP”);

                   ii.   The exclusion of gender confirming healthcare from the SHP (the

                         “Exclusion”);

                  iii.   The factual bases for Plaintiffs’ claims and Defendants’ denials

                         and defenses to those claims; and




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             iv.      Discovery on any other relevant matters within the scope of Rule

                      26 of the Federal Rules of Civil Procedure.

       b.          The time to make the disclosures required by Rule 26(a) shall be 21

days after the scheduling order is entered.

       c.          The Parties agree that the appropriate case management track for this

case, (with any stipulated modification by the Parties as set out below) pursuant to

LR 26.1(a) is the Exceptional track.

       d.      Written discovery limits and deposition limits will be applied per

party group with Plaintiffs collectively constituting one party group, the University

Defendants collectively constituting a second party group, and the State Health Plan

Defendants constituting a third party group.

            i. Interrogatories (including subparts) and requests for admission are

                   limited to 20 in total number by any party group to any other party

               group.

            ii. Depositions are limited to a total of 7 depositions per party group

               exclusive of depositions of any named party or any expert designated

               under rule 26(a)(2). For the avoidance of doubt, the deposition of any

               named party or any disclosed expert will not count against any party

               group’s limit of 7 depositions. No witness will be deposed twice,

               unless a witness is deposed both in their individual capacity and is

               designated as a witness by any defendant pursuant to Rule 30(b)(6).




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                      No expert will be deposed twice regarding the same expert report or

                      written testimony unless the expert offers different opinions for

                      different party groups. The Parties agree to meet and confer about

                      any proposed modifications to these numbers if necessary.           The

                      Parties further shall have a duty to confer with each other in an attempt

                      to resolve scheduling conflicts prior to scheduling depositions.

             e.       All Parties consent to email service of discovery requests and

      responses.

             f.       The date for the completion of all discovery (general and expert) is

      May 31, 2021.

             g.       Reports required by Rule 26(a)(2)(B) and disclosures required by

      Rule 26(a)(2)(C) are due during the discovery period:

                   i. From Plaintiffs by March 1, 2021.

                  ii. From the University Defendants and the State Health Plan Defendants

                      affirmative and rebuttal expert reports are due by April 1, 2021.

                  iii. Plaintiff’s rebuttal reports are due by May 1, 2021.

      3.     Supplements will be due seasonably as provided in Fed. R. Civ. P. 26(e) or

as otherwise ordered by the Court.

      4.     Mediation. Mediation should be conducted midway in the discovery period,

the exact date to be set by the mediator after consultation with the Parties. The Parties

agree that the mediator shall be Jon Harkavy.




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      5.      Preliminary Deposition Schedule.        Primarily, the Parties agree to the

following schedule for depositions:

              a.     Depositions of fact witnesses will occur before the close of discovery.

              b.     Expert depositions will occur between April 1, 2021 and May 31,

                     2021.

           c. The Parties will update this schedule at reasonable intervals.

      6.      Other Items.

              a.     Plaintiffs should be allowed until October 1, 2020 to request leave to

      join additional parties or amend pleadings. Defendants should be allowed until

      December 1, 2020 to request leave to join additional parties or amend pleadings.

      After these dates, the Court will consider, inter alia, whether the granting of leave

      would delay trial.

              b.     The Parties have discussed special procedures for managing this case,

      including reference of the case to a Magistrate Judge on consent of the Parties under

      28 U.S.C. § 636(c), or appointment of a master: At this point, the Parties do not

      consent to trial before a Magistrate Judge.

              c.     The case should be ready for trial 60 days after the Court rules on any

      dispositive motions. Trial is expected to take approximately 5 days.

              d.     Plaintiffs have demanded a trial by jury of all issues so triable pursuant

      to Fed. R. Civ. P. 38.




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       e.     The parties shall preserve electronically stored information (“ESI”)

consistent with Fed. R. Civ. P. 26, 34, and 37. Absent a request for a specific method

of production, the producing party may produce ESI in any reasonable manner.

       f.      Privileged Information: In accordance with Rule 26(f)(3)(D), the

Parties have discussed certain issues related to claims of privilege. The Parties agree

that an inadvertent production of privileged or trial-preparation materials (absent a

clear written statement of intent to waive such privilege or protection) shall not be

deemed a waiver or forfeiture of such privilege or protection provided that the Party

making the production or disclosure promptly identifies any such document(s)

mistakenly produced after discovery of the inadvertent production. The Parties

further agree that, upon request, any such mistakenly produced documents shall be

returned. In the event of a dispute over the production of any privileged materials

develops, a log shall be made specifically identifying all said information. In the

event that the use or further disclosure of any privileged materials develops during

this action, the receiving Party must sequester all copies of said information and

may not use or disseminate the information contained therein until such time as the

dispute over the claim of privilege is resolved by the Court.

       g.     Confidential Information: The Parties have discussed certain issues

relating to the disclosure of personnel documents and information which may be

confidential and/or protected from disclosure by law.         The Parties agree that

pursuant to Rule 26(f), and before the disclosure of any confidential information,




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      they will file a mutually agreeable protective order specifying that the information

      and documents to be produced shall not be generally disclosed, and shall only be

      used in the course of this litigation. The Parties reserve the right to move for a

      Protective Order with regard to the production of any confidential information in

      the event that the Parties are not able to agree on a consent protective order.

Dated: July 29, 2020

/s/ Amy E. Richardson
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                            CERTIFICATE OF SERVICE

       I certify that the foregoing document was filed electronically with the Clerk of

Court using the CM/ECF system which will send notification of such filing to all

registered users.

Dated: July 29, 2020                             /s/ Amy E. Richardson
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